          In the United States Court of Federal Claims
                                      No. 19-1796C

                             (E-filed: December 30, 2019)

                                          )
 AMAZON WEB SERVICES, INC.,               )
                                          )
              Plaintiff,                  )
                                          )
 v.                                       )
                                          )
 THE UNITED STATES,                       )
                                          )
              Defendant,                  )
                                          )
 and                                      )
                                          )
 MICROSOFT CORP.,                         )
                                          )
              Intervenor-defendant.       )
                                          )

                                        ORDER

        On December 27, 2019, defendant filed an unopposed motion for enlargement of
time of seven days, to and including January 3, 2020, within which to file any objection
to plaintiff’s December 23, 2019 application for access to protected information by
Jeffrey Tang, ECF No. 82. See ECF No. 93. Therein, defendant states that additional
time is required for the United States to determine whether it objects to access to
protected information by Mr. Tang. Id.

      For good cause shown, the defendant’s motion for an enlargement of time, ECF
No. 93, is GRANTED. Any objection to the application for access to protected
information by Jeffrey Tang, ECF No. 82, shall be FILED on or before January 3, 2020.

       IT IS SO ORDERED.
                                         s/Patricia E. Campbell-Smith
                                         PATRICIA E. CAMPBELL-SMITH
                                         Judge
